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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-23906-CIV-ALTONAGA/O’Sullivan

  LOURDES TORRES,

         Plaintiff,
  v.

  LA PROVENCE FRENCH
  BAKERY - WHOLESALE, LLC, et al.,

        Defendants.
  __________________________________/

                                ORDER APPROVING SETTLEMENT
                           AND DISMISSING CASE WITH PREJUDICE

         THIS CAUSE came before the Court upon the parties’ Joint Second Motion for

  Approval of Settlement . . . (“Motion”) [ECF No. 31], filed January 31, 2017. The Motion seeks

  approval of a proposed Release and Settlement Agreement [ECF Nos. 31-5, 31-6].              (See

  generally Mot.). Upon review of the record and the parties’ documented basis for a settlement of

  the FLSA case, including an award of attorney’s fees to Plaintiff’s counsel, the Court finds

  settlement of this action is fair and reasonable and the requested fee is fair and reasonable and

  not grossly excessive.

         Accordingly, it is

         ORDERED AND ADJUDGED as follows:

         1. The Motion [ECF No. 31] is GRANTED.

         2. The Release and Settlement Agreement [ECF Nos. 31-5, 31-6] between Plaintiff,

             Lourdes Torres and Defendants, La Provence French Bakery-Wholesale, LLC and

             Patrick Gilarski, which has been duly filed as a record of the Court, is APPROVED

             in its entirety.
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        3. This case is DISMISSED with prejudice, with each party to bear its own costs and

            attorney’s fees except as otherwise agreed.

        4. All pending motions are DENIED as moot.

        5. The Court retains jurisdiction to enforce the terms of the Release and Settlement

            Agreement.

        DONE AND ORDERED in Miami, Florida this 31st day of January, 2017.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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